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UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
ANDREW R. VARA
UNITED STATES TRUSTEE, REGIONS 3 & 9
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY

                                             :    Case No. 22- 19705 (CMG)
 In re:                                      :
                                             :    Chapter: 11, Subchapter V
 RPVA Trucking LLC,                          :
                                             :    The Honorable Christine M. Gravelle
 Debtor.                                     :
                                             :    Hearing Date: March 28, 2023 @ 10:00 am
                                             :

NOTICE OF CROSS-MOTION BY THE UNITED STATES TRUSTEE UNDER 11 U.S.C.
  § 1112(b) FOR AN ORDER CONVERTING CASE TO CHAPTER 7, OR, IN THE
                    ALTERNATIVE, DISMISSING CASE

TO: ALL PERSONS ON ATTACHED CERTIFICATE OF SERVICE

          PLEASE TAKE NOTICE that the United States Trustee will move before the Honorable

Judge Christine M. Gravelle, on March 28, 2023 at 10:00 a.m. or as soon thereafter as counsel may

be heard, at the United States Bankruptcy Court, District of New Jersey, Clarkson S. Fisher U.S.

Courthouse, 402 East State Street, Trenton, New Jersey 08608, under 11 U.S.C. § 1112(b), for an

Order Converting Case to Chapter 7, or, in the alternative, Dismissing Case, and for such other

and further relief as this Court deems just and appropriate.

          PLEASE TAKE FURTHER NOTICE that the United States Trustee shall rely upon the

Cross-Motion and Certification submitted herewith.
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       PLEASE TAKE FURTHER NOTICE that any papers in opposition to the Cross-Motion

must be filed with the Court and served upon the United States Trustee not later than four (4) days

before the hearing date, pursuant to District of New Jersey Local Bankruptcy Rule 9013-2(a)(3).

If opposing papers are not filed and served within the required time, the Cross-Motion may be

deemed uncontested pursuant to District of New Jersey Local Bankruptcy Rule 9013-3(d) and an

Order Converting Case to Chapter 7, or, in the alternative, Dismissing the Case, may be signed

and entered in the Court’s discretion.

       PLEASE TAKE FURTHER NOTICE that pursuant to District of New Jersey Local

Bankruptcy Rule 9013-3(d) oral argument may only be presented by a party that has filed

opposition to the Motion.

                                             ANDREW R. VARA
                                             UNITED STATES TRUSTEE
                                             REGIONS 3 & 9


                                             /s/ Alexandria Nikolinos
                                             Alexandria Nikolinos
                                             Trial Attorney

DATED: March 21, 2023
